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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                  )
                                           )
                    Plaintiff,             )
                                           )
             vs.                           )                8:05CR237
                                           )
PATRICK SMITH,                             )         SCHEDULING ORDER
                                           )
                    Defendant.             )


       IT IS ORDERED that the following is set for hearing on September 23, 2005 at
9:30 a.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor,
Roman L. Hruska U.S. Courthouse, 111 So. 18 th Plaza, Omaha, Nebraska:

      - Motion to Suppress [36]

      Since this is a criminal case, the defendant must be present, unless excused by
the Court.

      DATED this 7th day of September, 2005.

                                        BY THE COURT:


                                        s/ F.A. Gossett
                                        United States Magistrate Judge
